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                                  UNITED STATES DISTRICT COURT
9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN JOSE DIVISION
11                                                                     *E-FILED - 5/11/06*

12   UNITED STATES OF AMERICA,      )                    No. CR 06-00010-RMW
                                    )
13             Plaintiff,           )
                                    )
14        v.                        )                    ORDER OF THE COURT
                                    )                    EXCLUDING TIME
15                                  )
     SALVADOR MACIAS-VALENCIA and )
16   HECTOR JAVIER MACIAS-VALENCIA, )
                                    )
17             Defendants.          )
                                    )
18                                  )
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        The above-captioned case came before the court on Monday, April 24, 2006 at 9:00 a.m. for
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     status hearing. The defendants were personally present and were represented by counsel.
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     Counsel for the United States was present. At the conclusion of the hearing, the court ruled as
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     follows:
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        The court hereby sets this case for jury trial to commence on Wednesday, July 5, 2006 at
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     1:30 p.m. and for a pretrial conference on June 22, 2006 at 2 p.m.
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        During the hearing on April 24, 2006, the court also set a further status hearing to take place
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     in this case on Monday, May 15, 2006 at 9:00 a.m. Because counsel for the government will be
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     flying to Columbia, South Carolina on that date for professional training at the National
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     ORDER EXCLUDING TIME CR 06-00010-RMW
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     Advocacy Center, the court hereby sets the further status hearing on Monday, May 22, 2006 at
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     9:00 a.m. instead, a date on which the government represents that counsel for both defendants
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     are available to appear.
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        Pursuant to Title 18, United States Code, Section 3161(h)(8), the court excludes the period of
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     time from April 24, 2006 through and including July 5, 2006, from the computation of the period
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     of time within which the trial must commence. The court FINDS that the ends of justice served
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     by the delay outweigh the best interest of the public and the defendants in a speedy trial. The
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     court bases this finding on the need of the parties to prepare transcripts and exhibits for trial; the
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     need of the defense to locate an expert witness regarding drug valuations and weights; and to
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     afford counsel the reasonable time necessary for effective preparation, within the meaning of 18
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     U.S.C. Section 3161(h)(8)(B)(iv).
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        IT IS SO ORDERED.
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     DATED:       5/11/06
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16                                           /s/ Ronald M. Whyte
                                            RONALD M. WHYTE
17                                          United States District Judge
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                                                       2 ORDER EXCLUDING TIME CR 06-00010-RMW
